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                                                                FILED: October 29, 2013


                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT


                                        ___________________

                                            No. 12-8052 (L)
                                        (8:04-cr-00235-RWT-9)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a Dobie Parker

                       Defendant - Appellant

                                        ___________________

                                              No. 13-4208
                                        (8:04-cr-00235-RWT-9)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, Dobie Parker

                       Defendant - Appellant
Appeal: 12-8052     Doc: 42        Filed: 10/29/2013 Pg: 2 of 2
                  Case 8:04-cr-00235-DKC Document 1655 Filed 10/29/13 Page 2 of 2

                                       ___________________

                                   STAY OF MANDATE UNDER
                                     FED. R. APP. P. 41(d)(1)
                                      ___________________

              Under Fed. R. App. P. 41(d)(1), the timely filing of a petition for rehearing

        or rehearing en banc or the timely filing of a motion to stay the mandate stays the

        mandate until the court has ruled on the petition for rehearing or rehearing en banc

        or motion to stay. In accordance with Rule 41(d)(1), the mandate is stayed pending

        further order of this court.


                                                                 /s/Patricia S. Connor, Clerk
